          Case 4:21-cv-08580-DMR Document 6 Filed 11/05/21 Page 1 of 3



 1   MATTHEW J. BLASCHKE (State Bar No. 281938)
     mblaschke@kslaw.com
 2   KING & SPALDING LLP
     50 California Street Suite 3300
 3   San Francisco, CA 94111
     Telephone: (415) 318-1212
 4   Facsimile:     (415) 318-1300
 5   DAVID L. BALSER (pro hac vice forthcoming)
     dbalser@kslaw.com
 6   S. STEWART HASKINS II (pro hac vice forthcoming)
     shaskins@kslaw.com
 7   KING & SPALDING LLP
     1180 Peachtree Street, N.E.
 8   Atlanta, GA 30309
     Telephone: (404) 572-4600
 9   Facsimile:    (404) 572-5100
10   Counsel for Capital One Defendants
11                               UNITED STATES DISTRICT COURT
12                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
13                                        OAKLAND DIVISION

14
      RONEY MIRANDA and ALAIN MICHAEL, on             Case No. 4:21-cv-08580-DMR
15    behalf of themselves and all others similarly
      situated,                                       CAPITAL ONE DEFENDANTS’
16                                                    NOTICE OF PENDENCY OF
                                                      OTHER ACTION OR
17                         Plaintiffs,                PROCEEDING
18
             v.
19
      CAPITAL ONE FINANCIAL CORPORATION,
20    CAPITAL ONE BANK (USA), N.A., CAPITAL
      ONE, N.A., AMAZON.COM, Inc., and
21    AMAZON WEB SERVICES, Inc.
22
                           Defendants.
23

24

25

26

27

28


     CAPITAL ONE DEFENDANTS’ NOTICE                                        4:21-CV-08580-DMR
     OF PENDENCY OF OTHER ACTION OR PROCEEDING
           Case 4:21-cv-08580-DMR Document 6 Filed 11/05/21 Page 2 of 3



 1          Pursuant to Civil Local Rule 3-13 of the United States District Court for the Northern District
 2   of California, defendants CAPITAL ONE FINANCIAL CORPORATION, CAPITAL ONE BANK
 3   (USA), N.A., CAPITAL ONE, N.A. (“Capital One”) advise the Court that the instant action involves
 4   all or a material part of the same subject matter and parties as the other action pending before the
 5   Honorable Anthony J. Trenga in the Eastern District of Virginia. Those other actions are combined in
 6   Multi-District Litigation captioned In Re: Capital One Consumer Data Security Breach Litigation,
 7   No. 1:19-md-2915 (E.D. Va.) (“In re Capital One”).
 8          Both the Miranda Action and In re Capital One relate to the cyber incident that Capital One
 9   announced on July 29, 2019 (the “Cyber Incident”). The claims and allegations in the Miranda Action
10   are similar to those asserted in the cases already consolidated in the In re Capital One MDL. In fact,
11   the Miranda Plaintiffs specifically state that the claims asserted in the Miranda Complaint are
12   “substantively identical” to the claims asserted in the In re Capital One MDL. See Miranda Complaint
13   ¶ 7. Like the representative class action complaint in In re Capital One, the Miranda Complaint asserts
14   claims for negligence, negligence per se, unjust enrichment, declaratory judgment, breach of
15   confidence, breach of contract, breach of implied contract, violations of California’s Unfair
16   Competition Law (Cal. Bus. & Prof. Code §§ 17200, et seq.), and violations of California’s Consumer
17   Legal Remedies Act (Cal. Civ. Code §§ 1750, et seq.). See id. ¶¶ 151-244. All of these claims arise
18   out of and relate to the Cyber Incident, in which a criminal hacker stole consumer data stored in Capital
19   One’s cloud environment. See generally JPML Transfer Order, 396 F. Supp. 3d 1364, 1365 (J.P.M.L.
20   2019) (finding centralization of related actions under 28 U.S.C. § 1407 warranted where all “actions
21   arise from the same data security breach” and “all allege that Capital One failed” to use “reasonable
22   data protections”). Further, the putative MDL class definition encompasses the Miranda Plaintiffs.
23   Accordingly, the Miranda Action qualifies as a potential tag-along action under JPML Rule 1.1(h)
24   and should be transferred to the In re Capital One MDL.
25          Defendants contend that transfer of the instant action to In Re Capital One, in the United States
26   District Court for the Eastern District of Virginia, should be effected pursuant to 28 U.S.C. § 1407,
27   and Defendants filed a Notice of Tag-Along with the JPML on November 4, 2021. The JPML issued
28   a Conditional Transfer Order on November 5, 2021. Transfer here will avoid conflicts, conserve

                                                        2
     CAPITAL ONE DEFENDANTS’ NOTICE                                                    4:21-CV-08580-DMR
     OF PENDENCY OF OTHER ACTION OR PROCEEDING
           Case 4:21-cv-08580-DMR Document 6 Filed 11/05/21 Page 3 of 3



 1   resources, and promote an efficient determination of this action.
 2

 3   Dated: November 5, 2021                          Respectfully submitted,
 4
                                                      KING & SPALDING LLP
 5

 6                                                    By: /s/ Matthew J. Blaschke___
                                                      MATTHEW J. BLASCHKE
 7
                                                      DAVID L. BALSER (pro hac vice forthcoming)
 8                                                    S. STEWART HASKINS II (pro hac vice
                                                      forthcoming)
 9
                                                      Counsel for Capital One Defendants
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                       3
     CAPITAL ONE DEFENDANTS’ NOTICE                                               4:21-CV-08580-DMR
     OF PENDENCY OF OTHER ACTION OR PROCEEDING
